        Case 7:17-cv-00148 Document 7 Filed on 05/26/17 in TXSD Page 1 of 4
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                            May 26, 2017
                            UNITED STATES DISTRICT COURT
                                                                                         David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

CINDY VALDEZ,                                     §
                                                  §
              Plaintiff,                          §
VS.                                               § CIVIL ACTION NO. 7:17-CV-00148
                                                  §
DOLGENCORP OF TEXAS, INC.; dba                    §
DOLLAR GENERAL,                                   §
                                                  §
              Defendants.                         §

                                             ORDER

         The Court now considers Dogencorp of Texas, Inc., d/b/a Dollar General’s (“Defendant”)

motion to compel arbitration and to dismiss or stay the action.1 Cindy Valdez (“Plaintiff”) never

responded, and is thus unopposed to the motion. After duly considering the record and relevant

authorities, the Court GRANTS the motion, and STAYS the case for a period of six months

pending arbitration.

         I.         BACKGROUND

         This case arises from Plaintiff’s employment with Defendant, and Defendant’s alleged

unlawful treatment of Plaintiff. Plaintiff filed suit in state court, alleging unlawful discrimination

and retaliation under §§ 21.051 (discrimination) and 21.055 (retaliation) of the Texas

Commission on Human Rights Act.2 Plaintiff also alleged common law claims of libel, slander,

defamation, and business disparagement.3 Defendant removed the case on the basis of diversity4




1
  Dkt. No. 5.
2
  Id. ¶¶ 6.1–7.3.
3
  Id. ¶¶ 7.4–7.6.
4
  Dkt. No. 1.

1/4
       Case 7:17-cv-00148 Document 7 Filed on 05/26/17 in TXSD Page 2 of 4




and subsequently filed the instant motion to compel arbitration,5 to which Plaintiff never

responded. The Court now turns to the motion.

        II.      DISCUSSION

        The Federal Arbitration Act (“FAA”) creates “a body of federal substantive law of

arbitrability, applicable to any arbitration agreement within the coverage of the Act.”6 In

particular, § 2 of the FAA establishes the presumptive validity of arbitration agreements,7 § 4

empowers federal courts to compel arbitration in cases where the parties have a written

arbitration agreement yet one of the parties files suit in court,8 and § 3 empowers federal courts

to stay a case that is referable to arbitration.9 When deciding whether to compel arbitration,

courts conduct a two-step inquiry.10 The first step is to determine “whether the parties agreed to

arbitrate their dispute . . . .”11 Second, “the court must consider whether any federal statute or

policy renders the claims nonarbitrable.”12

                 A.      Whether the parties agreed to arbitrate the dispute

        Two considerations determine whether the parties agreed to arbitrate: “(1) whether there

is a valid agreement to arbitrate between the parties; and (2) whether the dispute in question falls

within the scope of that arbitration agreement.”13 The first consideration works in favor of

arbitration here. Arbitration agreements are prima facie valid, placing an affirmative burden upon

the opposing party to rebut the presumption of validity: “[A] written arbitration agreement is


5
  Dkt. No. 5.
6
  Moses H. Cone Memorial Hospital v. Mercury Construction Corp., 460 U.S. 1 (1983).
7
  9 U.S.C.A. § 2 (West).
8
  Id. § 4.
9
  Id. § 3.
10
   Will-Drill Resources, Inc. v. Samson Resources Co., 352 F.3d 211, 214 (5th Cir.2003).
11
   Killen v. Susman Godfrey L.L.P., CIV.A. H-07-1763, 2007 WL 2480234, at *1 (S.D. Tex. Aug. 30, 2007) (citing
Will-Drill Resources, Inc., 352 F.3d at 214.).
12
   Id.
13
   Webb v. Investacorp, Inc., 89 F.3d 252, 258 (5th Cir.1996) (internal citations omitted).


2/4
        Case 7:17-cv-00148 Document 7 Filed on 05/26/17 in TXSD Page 3 of 4




prima facie valid and must be enforced unless the opposing party . . . allege[s] and prove[s] . . .

such grounds as exist at law or in equity for the revocation of the contract.”14 Plaintiff signed an

arbitration agreement with Defendant15 and has not opposed the present motion, thus failing to

rebut the presumption of the arbitration agreement’s validity. Consequently, a valid arbitration

agreement exists between the parties.

         The second consideration—whether the dispute in question falls within the scope of the

arbitration agreement—also works in favor of arbitration. The scope of the arbitration agreement

is spelled out thus: “You agree that . . . any legal claims or disputes that you may have against

[Defendant] . . . arising out of your employment with [Defendant] or termination of employment

with [Defendant] . . . will be addressed in the manner described in this [arbitration] agreement.”16

Here, all of Plaintiff’s factual allegations and legal claims against Defendant arise from

Plaintiff’s employment and termination of employment with Defendant. Thus, the claims

brought before this Court fall squarely within the arbitration agreement. In sum, the parties have

a valid agreement to arbitrate Plaintiff’s claims.

                  B.       Whether any federal statute or policy renders the claims nonarbitrable

         The parties have not discussed, and the Court cannot find, any federal statute or policy

that renders Plaintiff’s claims nonarbitrable. Thus, the Court’s two-step inquiry dictates that the

present case should go to arbitration.

         III.     HOLDING

         Defendant’s motion to compel arbitration is GRANTED. The parties are ORDERED to

proceed to arbitration according to the terms of their arbitration agreement, and the present case

14
   Freudensprung v. Offshore Technical Services, Inc., 379 F.3d 327, 341 (5th Cir. 2004) (alteration in original); 9
U.S.C. § 2.
15
   Dkt. No. 5-1.
16
   Id. p. 6.


3/4
      Case 7:17-cv-00148 Document 7 Filed on 05/26/17 in TXSD Page 4 of 4




is STAYED for a six-month period pending arbitration. The parties are further ORDERED to

submit an arbitration status report to the Court no later than November 27, 2017.

       IT IS SO ORDERED.

       DONE at McAllen, Texas, this 26th day of May, 2017.


                                                ___________________________________
                                                Micaela Alvarez
                                                United States District Judge




4/4
